        Case:
       Case    21-15120, 11/16/2022,
            4:13-md-02420-YGR        ID: 12588543,
                                 Document          DktEntry:
                                            2752 Filed       84, Page
                                                       11/16/22       1 of
                                                                   Page    3 3
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                       UNITED STATES COURT OF APPEALS
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                                 FOR THE NINTH CIRCUIT                 MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS




In re: LITHIUM ION BATTERIES                    No.    21-15120
ANTITRUST LITIGATION,
                                                D.C. No. 4:13-md-02420-YGR
------------------------------                  Northern District of California,
                                                Oakland
INDIRECT PURCHASER PLAINTIFFS,

               Plaintiff-Appellee,              ORDER

v.

MICHAEL FRANK BEDNARZ,

               Objector-Appellant,

  v.

PANASONIC CORPORATION;
PANASONIC CORPORATION OF
NORTH AMERICA; SANYO ELECTRIC
CO, LTD; SANYO NORTH AMERICA
CORPORATION; HITACHI, LTD.;
HITACHI MAXWELL, LTD.;
MAXWELL CORPORATION OF
AMERICA; TOSHIBA CORPORATION;
TOSHIBA AMERICA ELECTRONIC
COMPONENTS, INC.; NEC
CORPORATION; SAMSUNG SDI CO.
LTD.; SAMSUNG SDI AMERICA, INC.;
SONY CORPORATION; SONY
ENERGY DEVICES CORPORATION;
SONY ELECTRONICS, INC.; NEC
TOKIN CORPORATION; LG CHEM,
LTD.; LG CHEM AMERICA, INC.,
       Case:
      Case    21-15120, 11/16/2022,
           4:13-md-02420-YGR        ID: 12588543,
                                Document          DktEntry:
                                           2752 Filed       84, Page
                                                      11/16/22       2 of
                                                                  Page    3 3
                                                                       2 of




               Defendants-Appellees.



In re: LITHIUM ION BATTERIES                   No.    21-15200
ANTITRUST LITIGATION,
                                               D.C. No. 4:13-md-02420-YGR
------------------------------                 Northern District of California,
                                               Oakland
INDIRECT PURCHASER PLAINTIFFS,

               Plaintiff-Appellant,

 v.

STEVEN FRANKLYN HELFAND;
MICHAEL FRANK BEDNARZ;
CHRISTOPHER ANDREWS,

               Objectors-Appellees,

v.

PANASONIC CORPORATION;
PANASONIC CORPORATION OF
NORTH AMERICA; SANYO ELECTRIC
CO, LTD; SANYO NORTH AMERICA
CORPORATION; HITACHI, LTD.;
HITACHI MAXWELL, LTD.;
MAXWELL CORPORATION OF
AMERICA; TOSHIBA CORPORATION;
TOSHIBA AMERICA ELECTRONIC
COMPONENTS, INC.; NEC
CORPORATION; SAMSUNG SDI CO.
LTD.; SAMSUNG SDI AMERICA, INC.;
SONY CORPORATION; SONY
ENERGY DEVICES CORPORATION;


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       Case:
      Case    21-15120, 11/16/2022,
           4:13-md-02420-YGR        ID: 12588543,
                                Document          DktEntry:
                                           2752 Filed       84, Page
                                                      11/16/22       3 of
                                                                  Page    3 3
                                                                       3 of




SONY ELECTRONICS, INC.; NEC
TOKIN CORPORATION; LG CHEM,
LTD.; LG CHEM AMERICA, INC.,

             Defendants.


Before: HAWKINS, McKEOWN, and BYBEE, Circuit Judges.

      The panel has voted to deny the Stipulated Dismissal of Appeal filed by

Indirect Purchaser Plaintiffs and Christopher Andrews on May 2, 2022 as moot.

The stipulated motion to dismiss was granted in consolidated case number

21-15138 on May 19, 2022.




                                        3
